 

Case: 1:18-cv-05587 Document #: 1147-2 Filed: 01/27/22 Page 1 of 21 PagelD #:54466

 

T

lilinois Anti-Predatory |

|
Lending Database
Program

Certificate of Exemption IU
|

 

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Doc#: 1625250140 Fee: $54.00
RHSP Fee:$9.00 RPRF Fee: $1.00
Karen A.Yarbrough

Cook County Recorder of Deeds

Date: 09/08/2016 02:50 PM Pg: 1 of 9

PLEX

Report Mortgage Fraud

|
|
|
800-532-8785 |
j

 

The property identified as: ~~ PIN: 21-30-414-040-0000

Address:

Street: 3074 E Cheltenham PI.

Street line 2:

City: Chicago State: IL ZIP Code: 60649

Lender. The Persons Listed on Exhibit A to the Mortgage c/o EquityBuild Finance, LLC

Borrower: EquityBuild, Inc

Loan / Mortgage Amount: $2,200,000.00

This property is located within the program area and is exempt from the requirements of 765 ILCS 77/70 et seq. because
it is not owner-occupied.

Certificate number: 73A9AE25-FD60-47C0-88AD-85F0614BBDF3 Execution date: 7/14/2016

 

 
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Mail To:

Cpt Gut Finan ALC

SDS L) Aare Plus _ 4 300
Plane “1S O9% [The Above Space For Recorder's Use Only]

MORTGAGE

THIS MORTGAGE ("Security Instrument") is given on July 14", 2016. The mortgagor is
EquityBuild, Inc. ("Borrower").

This Security Instrument is given to The Persons Listed on Exhibit A to the Mortgage C/O
EquityBuild Finance, LLC whose address is 5068 West Plano Pkwy. #300 Plano, TX 75093
("Lender").

Borrower owes Lender the principal sum of Two Million Two Hundred Thousand and 00/100
Dollars (U.S. $2,200,000.00). This debt is evidenced by Borrower's notes dated the same date as
this Security Instrument (Mortgage), which provides for a final payment of the full debt, if not paid
earlier, due and payable January 15, 2018. This Security Instrument secures to Lender:

(a) the repayment of the debt evidenced by the Note, with interest, and all renewals, extension and
modifications; (b) the payment of all other sums, with interest advanced under paragraph 7 to protect
the security of this Security Instrument; and (c) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to Lender the following described property located in COOK County,
Illinois:

PIN: 21-30-414-040-0000

which has the address of 3074 E Cheltenham PI. Chicago, IL 60649 ("Property Address"), (also known
as 7836 S South Shore Drive, Chicago, IL, 60649);

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, rights, appurtenances, rents, royalties, mineral, oil and gas rights and profits, water rights
and stock and all fixtures now or hereafter a part of the property. Alll replacements and additions shall
also be covered by this Security Instrument. All of the foregoing is referred to in this Security
Instrument as the "Property."
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BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly
pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
and late charges due under the Note.

2. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term "extended coverage"
and any other hazards for which Lender requires insurance. This insurance shall be maintained in the
amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

All insurance policies and renewals shall be acceptable to Lender and shall include a standard
mortgage clause. Lender shall have the right to hold the policies and renewals. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. In the
event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower.

Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
and Lender's security is not lessened. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with any excess paid to Borrower. If Borrower
abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may collect the insurance proceeds. Lender may
use the proceeds to repair or restore the Property or to pay sums secured by this Security
Instrument, whether or not then due. The 30-day period will begin when the notice is given.

Unless Lender and Borrower otherwise agree in writing, any application of proceeds to
principal shall not extend or postpone the due date of the monthly payments referred to in
paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is
acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
to the Property prior to the acquisition shall pass to Lender to the extent of sums secured by this
Security Instrument immediately prior to the acquisition.

3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, -the leasehold and fee title shall not merge unless Lender

agrees to the merger in writing.
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4. Protection of Lender's Rights in the Property; Mortgage Insurance. If Borrower fails to
perform the covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in
bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and
pay for whatever is necessary to protect the value of the Property and Lender's rights in the Property.
Lender's actions may include paying any sums secured by a lien which has priority over this Security
Instrument, appearing in court, paying reasonable attorneys' fees, and entering on the Property to
make repairs. Although Lender may take action under this paragraph 4, Lender does not have to do
so.

5. Successor and Assigns Bound; Joint and Several Liability: Co-signers. The covenants and
agreements of this Security Interest shall bind and benefit the successors and assigns of Lender and
Borrower, subject to the provisions of paragraph 9. Borrower's covenants and agreements shall be
joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
(a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest
in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
sums secured by this Security Instrument: and (c) agrees that Lender and any other Borrower may
agree to extend, modify, forebear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the Borrower's consent.

6. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method.
The notice shall be directed to the Property Address or any other address Borrower designates by
notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security Instrument shall be deemed to have been given to Borrower or Lender when given as
provided in this paragraph.

7. Governing Law; Severability. This Security Instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. In the event that any provision or clause of this
Security Instrument or Note conflicts with applicable law, such conflict shall not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To
this end the provisions of this Security Instrument and the Note are declared to be severable.

8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this
Security Instrument.

9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its
option, require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date of
this Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.
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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

10. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
costs.

11. Assignment of Rents and Leases. As additional security for the payment of the
Indebtedness, Mortgagor assigns and transfers to Mortgagee, pursuant to 1953 PA 210, as amended
by 1966 PA 151 (MCLA 554.231 et seq., MSA 26.1137(1) et seq.), all the rents, profits, and income
under all leases, occupancy agreements, or arrangements upon or affecting the Premises (including
any extensions or amendments) now in existence or coming into existence during the period this
Mortgage is in effect. This assignment shall run with the land and be good and valid as against
Mortgagor and those claiming under or through Mortgagor. This assignment shall continue to be
operative during foreclosure or any other proceedings to enforce this Mortgage. If a foreclosure sale
results in a deficiency, this assignment shall stand as security during the redemption period for the
payment of the deficiency. This assignment is given only as collateral security and shall not be
construed as obligating Mortgagee to perform any of the covenants or undertakings required to be
performed by Mortgagor in any leases. In the event of default in any of the terms or covenants of this
Mortgage, Mortgagee shall be entitled to all of the rights and benefits of MCLA 554.231-.233, MSA
26.1137(1)-(3), and 1966 PA 151, and Mortgagee shall be entitled to collect the rents and income
from the Premises, to rent or lease the Premises on the terms that it may deem best, and to maintain
proceedings to recover rents or possession of the Premises from any tenant or trespasser.
Mortgagee shall be entitled to enter the Premises for the purpose of delivering notices or other
communications to the tenants and occupants. Mortgagee shall have no liability to Mortgagor as a
result of those acts. Mortgagee may deliver all of the notices and communications by ordinary first-
class U.S. mail. If Mortgagor obstructs Mortgagee in its efforts to collect the rents and income from
the Premises or unreasonably refuses or neglects to assist Mortgagee in collecting the rent and
income, Mortgagee shall be entitled to appoint a receiver for the Premises and the income, rents, and
profits, with powers that the court making the appointment may. confer. Mortgagor shall at no time
collect advance rent in excess of one month under any lease pertaining to the Premises, and
Mortgagee shall not be bound by any rent prepayment made or received in violation of this
paragraph. Mortgagee shall not have any obligation to collect rent or to enforce any other obligations
of any tenant or occupant of the Premises to Mortgagor. No action taken by Mortgagee under this
paragraph shall cause Mortgagee to become a "mortgagee in possession."

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

BORROWER: EquityBuild, Inc.

oi Aj (SEAL)
Tene President

[Space Below This Line For Acknowledgement]
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STATE OF FLORIDA, (Waryrthe & County ss:

| hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

WITNESS my hand and official seal in the county and state aforesaid this IY day of

dulu 20 jlo.

My Commission expires: July AW, aoOIT a Bie,

{Seal} ‘
Aamo Amn An 104

~ Motary Public

 

, JESSICA ANN BAIER
: MY COMMISSION #FF019714

one EXPIRES July 26, 2017

(407) 398-0153 FloridaNotaryService.com

   

 

 

 
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Exhibit A

 

—
Lender Name

Principal Amount

Percentage of Loan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Danyel Tiefenbacher & Jamie Lai $50,000 2.27%
The Entrust Group Inc. FBO Jill Halverson ra $50,000 2.27%
MayREI LLC $86,515 3.93%
iPlanGroup Agent for Custodian FBO Christopher Pong IRA $29,280 1.33%
iPlanGroup Agent for Custodian FBO Julia Pong IRA $34,572 1.57%
Kevin Randall $50,000 2.27%
Alton P. Motes & Vicki Elaine Washburn JTWROS $80,000 3.64%
Paul N. Wilmesmeier $25,000 1.14%
iPlanGroup Agent for Custodian FBO James B. Ploeger IRA $6,300 0.29%
Flying Hound Holdings, LLC $18,553 0.84%
Pat Desantis $110,000 5.00%
Adir Hazan $50,000 2.27%
Optima Property Solutions LLC $60,000 2.73%
Quest IRA Inc. FBO Francis Webb IRA i $22,035 1.00%
Kester Brothers Farm, LLC $50,000 2.27%
James Hoven $50,000 2.27%
2nd City Solo 401K Trust $20,000 0.91%
Joshua Morrow $50,000 2.27%
D & D Investment Circle LLC $30,000 1.36%
iPlan Group Agent for Custodian FBO Yvette Camacho IRA $30,000 1.36%
Madison Trust Company Custodian FBO Robert W. Jennings $74,539 3.39%
Account

iPlanGroup Agent for Custodian FBO Jyotsna Sharma IRA $25,000 1.14%
Erika Dietz $50,000 2.27%
iPlanGroup Agent for Custodian FBO Mark Young IRA $100,000 4.55%
1839 Fund I, LLC $50,000 2.27%
Joseph M. Martinez & Linda M. Martinez $50,000 2.27%
Ira J. Fields Living Trust, Glynis Sheppard, Trustee. $50,000 2.27%
Terry L. Merrill & Sheryl R. Merrill $50,000 2.27%
Equity Trust Company Custodian FBO Paula Levand IRA $45,000 2.05%
TruStar Real Estate Solutions, LLC $75,000 3.41%
Quest IRA, Inc. FBO Francisco A. Romero Sr. Acct $56,000 2.55%
iPlan Group Agent for Custodian FBO Jacqueline C. Rowe IRA $50,000 2.27%
G & M You-nique Properties LLC $60,000 2.73%
Walter T. & Margaret M. Akita $50,000 2.27%
Scott E. Pammer $70,000 3.18%
Equity Trust Company Custodian FBO Stanley J. Kessock IRA $50,000 2.27%
iPlan Group Agent for Custodian FBO Filomena Mora IRA $38,400 1.75%
KKW Investments $51,600 0.07%
PNW Investments, LLC $10,000 0.45%
New Move Ventures Inc. $50,000 2.27%
iPlanGroup Agent For Custodian FBO Maria Christina Jorgensen $42,000 1.91%
hs

Vantage FBO Sidney Haggins IRA 530,000 1.36%
Grathia Corporation $100,000 4.55%
Vladimir Matviishin, dba Network Expert $28,075 1.28%

 

 
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Lender Name

Principal Amount

Percentage of Loan

 

Susan Tingle

$50,000

2.27%

 

Samuel Home Solutions, LLC

 

$42,131

 

1.92%

 

 
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The Easterly 120 feet of Lot 114 in Division One of Westfall's Subdivision of 208 acres,
being the East 1/2 of the Southwest 1/4 and the Southeast fractional 1/4 of Section 30,
Township 38 North, Range 15, East of the Third Principal Meridian, in Cook County,
Illinois
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LENDER BORROWER
The persons listed on EQUITYBUILD, INC.
Exhibit A to the Note 1083 N COLLIER BLVD. #132 COMMERCIAL FLAT
C/O EQUITYBUILD FINANCE,LLC MARCO ISLAND, FL 34145
5068 WEST PLANO PKWY #300 RATE PROMISSORY
PLANO, TX 75093 NOTE
With Balloon Payment
Illinois
Interest Rate Principal Funding Date Maturity Date Loan Number
18% $2,200,000 07/14/2016 01/01/2018 N/A
For 18 Months

 

 

 

THIS LOAN IS PAYABLE IN FULL ON OR BEFORE THE “MATURITY DATE” LISTED HEREIN. YOU MUST REPAY
THE ENTIRE PRINCIPAL BALANCE OF THE LOAN AND ANY UNPAID INTEREST, AND FEES AND COSTS, THEN
DUE TO THE LENDER. LENDER IS UNDER NO OBLIGATION TO REFINANCE, EXTEND OR MODIFY THE LOAN
AT THAT TIME. YOU WILL, THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT
YOU MAY OWN, OR YOU WILL HAVE TO FIND A LENDER (WHICH MAY OR MAY NOT BE THE LENDER YOU
HAVE THIS LOAN WITH), WILLING TO LEND YOU THE MONEY. IF YOU REFINANCE THIS LOAN AT MATURITY,
YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS NORMALLY ASSOCIATED WITH A NEW
LOAN EVEN IF YOU OBTAIN REFINANCING FROM THE SAME LENDER. FOR VALUE RECEIVED, the
undersigned Borrower(s), Maker(s) and/or Guarantor(s) (hereinafter the “Borrower’) promises to pay The persons
listed on Exhibit A to this Note C/O EquityBuild Finance, LLC (hereinafter collectively referred to as the “Holder” or
“Lender’), at 5068 West Plano Pkwy. #300 Plano, TX 75093, the principal sum of TWO MILLION TWO HUNDRED
THOUSAND and 00/100 DOLLARS ($2,200,000.00), together with interest from the above date at the interest rate of
EIGHTEEN PERCENT (18.0%) per annum on the unpaid principal balance until paid. The principal of this Note, plus
accrued interest at the rate aforesaid, shall be due and payable in EIGHTEEN (18) installments as follows:

a) ONE (1) interest payment in the amount of EIGHTEEN THOUSAND SEVEN HUNDRED and
00/100 DOLLARS ($18,700.00), beginning on or before JULY 14, 2016; and

b) SIXTEEN (16) equal and consecutive interest only payments in the amount of THIRTY-THREE
THOUSAND and 00/100 DOLLARS ($33,000.00), beginning on or before SEPTEMBER 01, 2016; and continuing

each and every month thereafter; and

c) One (1) final balloon payment on or before JANUARY 01, 2018, at which time the entire principal
balance, together with accrued but unpaid interest thereon, and any costs and expenses, shall be due and payable.

Anything in this Note contrary notwithstanding, the entire unpaid balance of the principal sum and all unpaid
interest accrued thereon shall, unless sooner paid, be and become due and payable on JANUARY 01, 2018 (“Maturity

Date’).

1. Application of Payments. All payments on this Note shall be made in lawful money of the United
States of America and shall be applied first to any late charges due hereunder, second to the payment of accrued but
unpaid interest and the remainder to the reduction of principal. The Borrower shall make all payments when due,

IL: Commercial Flat Rate Promissory Note

Borrower's nia

 
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without set-offs of any nature,

2. Late Charge/Dishonored Check. There shall be a grace period of five (5) days for any payment due

under this Note. The Borrower shall pay a late charge of 5% of the monthly payment amount, or $50.00, whichever is
greater, if such payment is received by Lender after the grace period. If the Maturity Date of the Note has expired the
late fee will be at the rate of 1.5% per month plus the face amount of the Note.
In the event any check given by Borrower to Lender as a payment on this Note is dishonored, or in the event there are
insufficient funds in Borrower's designated account to cover any preauthorized monthly debit from Borrower's checking
account, then, without limiting any other charges or remedies, Borrower shall pay to Lender a processing fee of $50.00
(but not more than the maximum amount allowed by law) for each such event.

3. Security. To secure the payment and performance of obligations incurred under this Note, this Note
shall be secured by and subject to the terms of a Mortgage of even date herewith from the Borrower which encumbers
real property and improvements located at

3074 E Cheltenham PI. Chicago, IL 60649 (also known as 7836 S South Shore Drive, Chicago, IL, 60649), and
the maturity hereof is subject to acceleration as therein set forth. Both this Note and the Mortgage are given in
consideration of a loan of even date herewith in the amount of the principal sum by the Lender to the Borrower.

In addition to the property described above, Borrower grants Lender a security interest in all of Borrower's right, title
and interest in all monies and instruments of Borrower that are now or in the future in Lender's custody or control.

4. Events of Default. An Event of Default will occur under this Note in the event that Borrower any
guarantor or any other third party pledging collateral to secure this Note:

a. Fails to make any payment of principal and/or interest or any other sum due hereunder when the
same is due pursuant to the terms of this Note;
b. If Borrower, guarantor or such third party:
i, Applies for or consents to the appointment of a receiver, trustee or liquidator of
Borrower, guarantor or such third party or of all or a substantial part of its assets;
ii. Files a voluntary petition in bankruptcy, whether by the Federal Bankruptcy Act or any
similar State stature, or admits in writing its inability to pay its debts as they come due;
iii. | Makes an assignment for the benefit of creditors;
iv. Files a petition or an answer seeking a reorganization or an arrangement with creditors
or seeking to take advantage of any insolvency law;
v. Performs any other act of bankruptcy; or
vi. Files an answer admitting the material allegations of a petition filed against Borrower,
guarantor or such third party in any bankruptcy, reorganization or insolvency proceeding;
or
c. Permits the entry of any order, judgment or decree by any court of competent jurisdiction
adjudicating Borrower, guarantor or such third party a bankrupt or an insolvent, or approving a receiver,
trustee or liquidator of Borrower, guarantor or such third party or of all or a substantial part of its assets:
or
d. There otherwise commences with respect to Borrower, guarantor or such third party or any of its
assets any proceeding under any bankruptcy, reorganization, arrangement, insolvency, readjustment,
receivership or like law or statute, and if the order, judgment, decree or proceeding continues unstayed
for any period of 60 consecutive days, or continues in effect for more than 10 days after any stay
thereof.
é. Fails to perform or violates any obligations or covenants under the terms of this Note or any
Mortgages or any additional loan documents or any other present or future written agreements
regarding this Note or any other indebtedness or obligations between Borrower, guarantor or such third
party and Lender;
f. Defaults under the terms of any note, mortgage, security instrument, or any other loan
documents or written agreements for any other loans secured by the property representing the
collateral for this Note;
g. Permits the entry of any judgment or lien, or the issuance of any execution, levy, attachment or

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IL: Commercial Flat Rate Promissory Note Borrower's ere
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5,
the breach of a

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garnishment proceedings against Borrower, guarantor or such third party;

h. Sells or otherwise conveys any property which constitutes security or collateral for the payment
of this Note without the prior written consent of the Lender and/or the destruction, loss or damage to
such collateral in any material respect and/or the seizure, condemnation or confiscation of the
collateral;

i. Provides or causes to be provided any false or misleading signature or Tepresentation to be
provided to Lender;

j. Has a garnishment, judgment, tax levy, attachment or lien entered or served against Borrower,
any guarantor, or any third party pledging collateral to secure this Note or any of their property;

k. Dies, becomes legally incompetent, is dissolved or terminated, or ceases to operate its
business;

I. Has a majority of its outstanding voting securities sold, transferred or conveyed to any person or
entity other than any person or entity that has the majority ownership as of the date of the execution of
this Note;

m. Causes Lender to deem itself insecure due to a significant decline in the value of any real or
personal property securing payment of this Note, or Lender, in good faith believes the prospect of
payment or performance is impaired;

n. Fails to keep an insurance policy in place on the subject property being used as collateral for
this loan with Lender as the mortgagee and/or as the loss payee including its successor and/or assigns;
0. Fails to keep property taxes current on property used as security for this Note.

Rights of Lender On Event of Default. In the Event of Default as set forth herein, or in the event of
ny covenant or obligation contained in the herein referred to Mortgage or Loan Documents on the part

of the undersigned to be kept, observed or performed, the Lender, at its sole and absolute discretion, may exercise

one or more of

the following remedies without notice or demand (except as required by law):

a. Declare the entire unpaid balance of principal of this Note, along with accrued and unpaid
interest thereon and all other charges, costs and expenses, provided for herein and in the Mortgage
immediately due and payable. Such acceleration shall be automatic and immediate in the Event of
Default is a filing under the Bankruptcy Code;

b. Collect the outstanding obligations of Borrower with or without judicial process;

c; Cease making advances under this Note or any other agreement between Borrower and
Lender;

d. Take possession of any collateral in any manner permitted by law;

e. require Borrower to deliver and make available to Lender any collateral at a place reasonably
convenient to Borrower and Lender;

f. Sell, lease or otherwise dispose of any collateral and collect any deficiency balance with or
without resorting to legal process;

g. Assume any and all mortgages/deeds of trust in existence at the time of default on all collateral
securing loans made to Borrower;

h, Set-off Borrower's obligations against any amounts due to Borrower including, but not limited to,

monies and instruments, maintained with Lender; and
i. Exercise all other rights available to Lender under any other written agreement or applicable
law.

At any time an Event of Default shall have occurred and be continuing and/or after maturity of the Loan, including
maturity upon acceleration, the unpaid principal balance, all accrued and unpaid interest and all other amounts payable

under the Note

shall bear interest at the “Default Rate” set forth in this Note. The unpaid principal balance shall

continue to bear interest after the Maturity Date at the Default Rate set forth in this Note until and including the date on

which it is paid

in full. Any regularly scheduled monthly installment of interest that is received by Lender before the date

itis due shall be deemed to have been received on the due date solely for the purpose of calculating interest due. Any
accrued interest remaining past due for 30 days or more shall be added to and become part of the unpaid principal

balance and sh

all bear interest at the rate or rates specified in this Note, and any reference herein to "accrued interest"

shall refer to accrued interest which has not become part of the unpaid principal balance. Interest under this Note shall
be computed on the basis of a 360-day year consisting of twelve 30-day months. Borrower shall make all payments of
principal and interest under this Note without relief from valuation and appraisement laws.

{L: Commercial Flat Rate Promissory Note 3 Borrower's Initials:/ ) /
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Lender's remedies in this Section are in addition to any available at common law and nothing in this Section shall
impair any right which the Holder has under this Note, or at law or in equity, to accelerate the debt on the occurrence of
any other Event of Default, whether or not relating to this Note. Lender's rights or remedies as provided in this Note
shall be cumulative and concurrent and may be pursued singly, successively, or together against Borrower or any
guarantor or third party (without first having to proceed against Borrower), at Lender’s sole and absolute discretion.
Borrower shall pay to Lender on Lender's demand the amount of all expenses incurred by Lender (a) in enforcing it's
rights under this Note, or (b) as the result of a default by Borrower under this Note, including but not limited to the cost
of collecting any amount owed hereunder, and any reasonable attorney's fees. The failure by Lender to exercise any of
its options contained herein shall not constitute a waiver of the right to exercise such option in the event of any
subsequent default.

6. Costs and Expenses. To the extent permitted by law, Borrower agrees to pay any and all reasonable
fees and costs, including, but not limited to, fees and costs of attomeys and other agents (including without limitation
paralegals, clerks and consultants), whether or not such attorney or agent is an employee of Lender, which are
incurred by Lender in collecting any amount due or enforcing any right or remedy under this Note, whether or not suit is
brought, including, but not limited to, all fees and costs incurred on appeal, in bankruptcy, and for post-judgment
collection actions. Said collection fees shall be in the minimum amount of Fifteen Percent (15%) of the amount of the
judgment as collected (or, if collected without judgment, a minimum fee of Fifteen Percent (15%) of the amount
collected), which attorney's fee shall not be diminished by any other fees, costs or damages, but in no event shall the
attorney's fees be less than $3,000.00.

if. Extensions. The Borrower shall remain liable for the payment of this Note, including interest,
notwithstanding any extension or extensions of time of payment or any indulgence of any kind or nature that the
Lender may grant or permit any subsequent owner of the encumbered property, whether with or without notice to the
Borrower and the Borrower hereby expressly waives such notice.

8. Confessed Judgment. UPON ANY DEFAULT BY THE BORROWER AS SET FORTH IN THIS NOTE,
AND TO THE EXTENT PERMITTED BY LAW, THE BORROWER HEREBY AUTHORIZES ANY ATTORNEY AT LAW
TO APPEAR FOR THE BORROWER IN ANY COURT OF COMPETENT JURISDICTION AND WAIVE THE
ISSUANCE AND SERVICE OF PROCESS AND CONFESS A JUDGMENT AGAINST THE BORROWER IN FAVOR
OF THE LENDER FOR SUCH AMOUNTS AS MAY THEN APPEAR TO BE UNPAID HEREON TOGETHER WITH
COSTS, EXPENSES AND ATTORNEY'S FEES IN THE MINIMUM AMOUNT OF FIFTEEN PERCENT (15%) OF THE
AMOUNT DUE FOR COLLECTION (BUT IN NO EVENT SHALL SUCH FEES BE LESS THAN $3000.00), AND TO
RELEASE ALL PROCEDURAL ERRORS AND WAIVE ALL RIGHTS OF APPEAL. IF THE CONFESSION OF
JUDGMENT ABOVE PROVIDED FOR IS AUTHORIZED OR RECOGNIZED BY THE LAW OF THE JURISDICTION
CONTROLLING BUT SUCH LAW REQUIRES SPECIAL FORMALITIES AND PROCEDURE, THEN THE SAID
ATTORNEY IS EMPOWERED TO EXECUTE THE NECESSARY FORM AND COMPLY WITH SUCH SPECIAL
PROCEDURES. THIS POWER OF CONFESSION OF JUDGMENT SHALL NOT BE EXHAUSTED BY ANY ONE OR
MORE EXERCISES, AND THE POWER SHALL CONTINUE UNDIMINISHED AND MAY BE EXERCIED FROM TIME
TO TIME AS OFTEN AS LENDER SHALL ELECT UNTIL ALL AMOUNTS PAYABLE TO LENDER UNDER THIS
NOTE SHALL HAVE BEEN PAID IN FULL.

g. Forbearance. The Lender shall not by any act or omission to act be deemed to waive any of its rights
or remedies hereunder unless such waiver is in writing and signed by the Lender and then only to the extent
specifically set forth therein. A waiver on one occasion shall not be construed as continuing or as a bar to or waiver of
such right or remedy on any other occasion. All remedies conferred upon the Lender by this Note or any other
instrument or agreement connected herewith or related hereto shall be cumulative and none is exclusive, and such
remedies may be exercised concurrently or consecutively at the Lender's option.

10. Modification and Waiver. Borrower and/or every person at any time liable for the payment of the debt
evidenced hereby, waives the exercise of all exemption rights which it holds at law or in equity conceming to the debt
evidenced by this Note whether under state constitution, homestead laws or otherwise. Borrower and any endorsers or
guarantors hereof severally waive valuation and appraisement, presentment and demand for payment, notice of intent
to accelerate maturity, notice of acceleration of maturity, protest or notice of protest and nonpayment, bringing of suit
and diligence in taking any action to collect any sums owing hereunder or in proceeding against any of the rights and

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properties securing payment hereof, and trial by jury in any litigation arising out of, relating to, or connected with this
Note or any instrument given as security hereof.

From time to time, without affecting Borrower's obligation to pay any sums due under this Note and perform Borrower's
covenants herein, without affecting the obligations of any endorser hereto or guarantor hereof, without giving notice to
or obtaining the consent of Borrower or any endorser hereto or guarantor hereof, and without liability on the part of the
Holder, Holder may, acting it its sole and absolute discretion, extend the Maturity Date or any other time for payment of
interest hereon and/or principal hereof, reduce the payments hereunder, release anyone liable under this Note accept
a renewal of this Note, modify the terms and time of payment of this Note, join in any extension or subordination or
exercise any option or election hereunder, modify the rate of interest or period of amortization or principal due date of
this Note, or exercise any option or election hereunder. No one or more such actions shall constitute a novation.

11. Voluntary and Involuntary Prepayments.

(a) A prepayment premium shall be payable in connection with any prepayment made under this Note as
provided below:

(i) Borrower may voluntarily prepay all of the unpaid principal balance of this Note on a Business
Day designated as the date for such prepayment in a Notice from Borrower to Lender given at least 30 days prior to
the date of such prepayment. Such prepayment shall be made by paying (A) the amount of principal being prepaid, (B)
all accrued interest, (C) all other sums due Lender at the time of such prepayment, and (D) the prepayment premium
calculated pursuant to Section 11(f) of this Note. For purposes of this Note, a "Business Day" means any day other
than a Saturday, Sunday or any other day on which Lender is not open for business. For all purposes including the
accrual of interest, but excluding the determination of the prepayment date under Section 11(f) of this Note, any
prepayment received by Lender on any day other than the last calendar day of the month shall be deemed to have
been received on the last calendar day of such month.

(ii) Borrower may voluntarily prepay less than all of the unpaid principal balance of this Note
(a "Partial Prepayment’) at any time. Upon delivery of the Partial Prepayment, a prepayment premium calculated
pursuant to Section 11(f) of this Note, based on the amount being prepaid, shall be due and payable to Lender upon
demand.

(iii) | Upon Lender's exercise of any right of acceleration under this Note, Borrower shall pay to
Lender, in addition to the entire unpaid principal balance of this Note outstanding at the time of the acceleration, (A) all
accrued interest, (B) and all other sums due Lender, and (C) the prepayment premium calculated pursuant to Section
11(f) of this Note, to the extent such prepayment premium does not exceed the maximum rate permitted by applicable
law.

(iv) Any application by Lender of any proceeds of collateral or other security to the repayment of
any portion of the unpaid principal balance of this Note prior to the Maturity Date and in the absence of acceleration
shall be deemed to be a partial prepayment by Borrower, requiring the payment to Lender by Borrower of a
prepayment premium. The amount of any such partial prepayment shall be computed so as to provide to Lender a
prepayment premium computed pursuant to Section 11(f) of this Note without Borrower having to pay out-of-pocket
any additional amounts.

(b) Notwithstanding the provisions of Section 11(a), no prepayment premium shall be payable with respect
to (A) any prepayment made after the expiration of the Prepayment Premium Period (as defined in Section 11(f) of this
Note), or (B) any prepayment occurring as a result of the application of any insurance proceeds or condemnation
award under the Security Instrument.

(c) Any permitted or required prepayment of less than the unpaid principal balance of this Note shall not
extend or postpone the due date of any subsequent monthly installments or change the amount of such installments,
unless Lender agrees otherwise in writing.

(d) Borrower recognizes that any prepayment of the unpaid principal balance of this Note, whether
voluntary or involuntary or resulting from a default by Borrower, will result in Lender's incurring loss, including
reinvestment loss, additional expense and frustration or impairment of Lender's ability to meet its commitments to third
parties. Borrower agrees to pay to Lender upon demand damages for the detriment caused by any prepayment, and
agrees that it is extremely difficult and impractical to ascertain the extent of such damages. Borrower therefore
acknowledges and agrees that the formula for calculating prepayment premiums set forth in Section 11(f) represents a
reasonable estimate of the damages Lender will incur because of a prepayment.

(e) Borrower further acknowledges that the prepayment premium provisions of this Note are a material part
of the consideration for the Loan, and acknowledges that the terms of this Note are in other respects more favorable to

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Borrower as a result of the Borrower's voluntary agreement to the prepayment premium provisions.
(f) Any prepayment premium payable under this Section 11 shall be computed as follows:

(i) If the prepayment is made between the date of the initial funding of the loan evidenced by this
Note and the last day of the month after close (the "Prepayment Premium Period"), the prepayment premium shall
be the interest at the Note rate herein that would be eamed on full loan amount for the balance of the Prepayment
Premium Period.

(ii) lf the prepayment is made after the expiration of the Prepayment Premium Period, there shall
be no prepayment premium due.

12. Default Rate. So long as (a) any monthly installment under this Note remains past due for thirty (30)
days or more or (b) any other Event of Default has occurred and is continuing, interest under this Note shall accrue on
the unpaid principal balance from the earlier of the due date of the first unpaid monthly installment or the occurrence of
such other Event of Default, as applicable, at a rate (the "Default Rate") equal to the lesser of seven (7) percentage
points above the rate stated in the first paragraph of this Note or the maximum interest rate which may be collected
from Borrower under applicable law. If the unpaid principal balance and all accrued interest are not paid in full on the
Maturity Date, the unpaid principal balance and all accrued interest shall bear interest from the Maturity Date at the
Default Rate. Borrower acknowledges that (a) its failure to make timely payments will cause Lender to incur additional
expenses in servicing and processing the Loan, (b) during the time that any monthly installment under this Note is
delinquent for thirty (30) days or more, Lender will incur additional costs and expenses arising from its loss of the use
of the money due and from the adverse impact on Lender's ability to meet its other obligations and to take advantage
of other investment opportunities; and (c) it is extremely difficult and impractical to determine those additional costs and
expenses. Borrower also acknowledges that, during the time that any monthly installment under this Note is delinquent
for thirty (30) days or more or any other Event of Default has occurred and is continuing, Lender's risk of nonpayment
of this Note will be materially increased and Lender is entitled to be compensated for such increased risk. Borrower
agrees that the increase in the rate of interest payable under this Note to the Default Rate represents a fair and
reasonable estimate, taking into account all circumstances existing on the date of this Note, of the additional costs and
expenses Lender will incur by reason of the Borrower's delinquent payment and the additional compensation Lender is
entitled to receive for the increased risks of nonpayment associated with a delinquent loan. During any period that the
Default Rate is in effect the additional interest accruing over and above the rate stated in the first paragraph of this
Note shall be immediately due and payable in addition to the regularly scheduled principal and interest payments.
Lender shall impose the Default Rate without any notice requirement to Borrower, guarantor or any third party pledging
collateral as security for this Note.

13. Loan Charges/Maximum Rate Permitted By Law. Neither this Note nor any of the other Loan
Documents shall be construed to create a contract for the use, forbearance or detention of money requiring payment of
interest at a rate greater than the maximum interest rate permitted to be charged under applicable law. If any
applicable law limiting the amount of interest or other charges permitted to be collected from Borrower in connection
with the Loan is interpreted so that any interest or other charge provided for in any Loan Document, whether
considered separately or together with other charges provided for in any other Loan Document, violates that law, and
Borrower is entitled to the benefit of that law, that interest or charge is hereby reduced to the extent necessary to
eliminate that violation. The amounts, if any, previously paid to Lender in excess of the permitted amounts shall be
applied by Lender to reduce the unpaid principal balance of this Note. For the purpose of determining whether any
applicable law limiting the amount of interest or other charges permitted to be collected from Borrower has been
violated, all Indebtedness that constitutes interest, as well as all other charges made in connection with the
indebtedness that constitute interest, shall be deemed to be allocated and spread ratably over the stated term of the
Note. Unless otherwise required by applicable law, such allocation and spreading shall be effected in such a manner
that the rate of interest so computed is uniform throughout the stated term of the Note. If Lender reasonably
determines that the interest rate (together with all other charges or payments that may be deemed interest) stipulated
under this Note is or may be usurious or otherwise limited by law, the unpaid balance of this Note, with accrued interest
at the highest rate permitted to be charged by stipulation in writing between Lender and Borrower, at the option of
Lender, shall immediately become due and payable.

14. Waiver of Jury Trial. THE BORROWER WAIVES TRIAL BY JURY IN ANY ACTION OR
PROCEEDING ARISING OUT OF, OR IN ANY WAY PERTAINING TO, THIS NOTE OR ANY DEED OF
TRUST/MORTGAGE ARISING FROM THIS NOTE. THIS WAIVER CONSTITUTES A WAIVER OF TRIAL BY JURY
OF ALL CLAIMS AGAINST ALL PARTIES TO SUCH ACTIONS OR PROCEEDINGS. THIS WAIVER IS KNOWINGLY,

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WILLINGLY AND VOLUNTARILY MADE BY THE BORROWER, AND THE BORROWER HEREBY REPRESENTS
THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY INDIVIDUAL TO INDUCE THIS
WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT.

15. Notices. Any Notice or other communication required, permitted or desirable under the terms of this
Note shall be sufficiently given if sent to each party as follows:

Lender: The persons listed on Exhibit A to this Note
C/O EquityBuild Finance, LLC
5068 West Plano Pkwy, #300
Plano, Texas 75093
Fax: 239-244-8666
Email: shaun.d.cohen@gmail.com

 

Borrower: EquityBuild, Inc.
1083 N Collier Blvd. #132
Marco Island, FL 34145
Fax: 202-204-8423
Email: jerry@equitybuild.com

Any notice, demand, consent, approval, request or other communication or document to be given hereunder to
a party hereto shall be (a) in writing, and (d) deemed to have been given (i) on the 3,.business day after being sent as
certified or registered mail in the United States mails, postage prepaid, return receipt requested, or (ii) on the next
business day after being deposited (with instructions to deliver it on that business day) with a reputable overnight
courier service, or (iii) (if the party's receipt thereof is acknowledged in writing) on being sent by telefax or another
means of immediate electronic communication, in each case to the party's address set forth above or any other
address in the United States of America which it designates from time-to-time by notice to each other party hereto, or
(iv) (if the party's receipt thereof is acknowledged in writing) on being given by hand or other actual delivery to the

party.

16. _ Entire Agreement/Severability. The terms and conditions of this Note together with the terms and
conditions of the Mortgages which are incorporated herein by reference as if set forth fully herein contain the entire
understanding between the Borrower and Lender with respect the indebtedness evidenced hereby. Such
understanding may not be modified, amended or terminated except in a written document duly executed by Borrower
and Lender. In the event that any one or more of the provisions set forth in this Note or any accompanying Arbitration
Agreement is determined by law to be invalid, illegal or unenforceable, the validity, legality, and enforceability of the
remaining provisions shall not in any way be affected or impaired hereby, and each provision in this Note shall be
construed liberally in favor of Lender to the fullest extent of the law.

17. Joint and Several Liability/Credit Reporting. The liability of the undersigned, as well as any
endorsers and/or guarantor(s), shall be both joint and several. This Note shall be binding upon the heirs, successors
and assigns of Borrower and Lender. Information conceming this Note may be reported to credit reporting agencies
and will be made available when requested by proper legal process.

18. Governing Law. This Note is delivered and made in, and shall be construed pursuant to the laws of the
State of Illinois Unless applicable law provides otherwise, Borrower consents to the jurisdiction and venue of any court
of competent jurisdiction located in Cook County, Illinois.

19. Construction. As used herein, Person means a natural person, trustee, corporation, partnership,
limited liability company or other legal entity, and all references made (a) in the neuter, masculine or feminine gender
Shall be deemed made in all genders, (b) in the singular or plural number shall also be deemed made in the plural or
singular number, and (c) to any Section, subsection, paragraph or subparagraph shall, unless therein expressly
indicated to the contrary, be deemed made to that part of the Note. The headings of those parts are provided only for
convenience of reference, and shall not be considered in construing their contents. Each document referred to herein
as being attached hereto as an exhibit or otherwise designated herein as an exhibit hereto shall be a part hereof.

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20. Time of Essence. Time shall be of the essence of this Note, but (other than as to payment of principal
and/or interest) if the last day for a Person to exercise a right or perform a duty hereunder is a Saturday, Sunday or
Statutory holiday, it shall have until the next day other than such a day to do so.

21. Assignment. Borrower agrees not to assign any of Borrower's rights, remedies or obligations
described in this Note without the prior written consent of Lender, which consent may be withheld by Lender in its sole
discretion. Borrower agrees that Lender is entitled to assign some or all of its rights and remedies described in this
Note without notice to or the prior consent of Borrower.

22. Commercial Purpose. It is expressly stipulated, warranted and agreed that the loan evidenced by this
Note and any Loan Documents is a “commercial loan” under applicable State or Federal law, and all proceeds shall be
used for business, commercial or investment purposes and expressly not for personal, family or household purposes.

23. Extension. Intentionally omitted.

24. _ Arbitration. If arbitration has been agreed to, Borrower(s) and Lender have entered into a separate
Arbitration Agreement on this date, the terms of which are incorporated herein and made a part hereof by reference.

25. Contingency Funds. Intentionally omitted.
26. Demand Feature. Intentionally omitted.

27. _ Consent To Relief From Automatic Stay. Borrower hereby agrees that if any.of them shall (i) file with
any bankruptcy court of competent jurisdiction or be the subject of any petition under Title 11 of the U.S, Code, as
amended; (ii) be the subject of any order for relief issued under such Title 11 of the U.S. Code, as amended: (iii) file or
be the subject of any petition seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution,
or similar relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or other relief
for debtors; (iv) seek, consent to or acquiesce in the appointment of any trustee, receiver, conservator or liquidator; (v)
be the subject of any order, judgment or decree entered by any court of competent jurisdiction approving a petition filed
against Borrower for any reorganization, arrangement, composition, readjustment, liquidation, dissolution, or similar
relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or relief for debtors,
Lender shall thereupon be entitled to relief from any automatic stay imposed by Section 362 of Title 11 of the U.S.
Code, as amended, or from any other stay or suspension of remedies imposed in any other manner with respect to the
exercise of the rights and remedies otherwise available to Lender under the Loan Documents.

 

THE PERSONS SIGNING BELOW ACKNOWLEDGE THAT THEY HAVE BEEN GIVEN AMPLE OPPORTUNITY TO
READ THIS AGREEMENT AND SEEK INDEPENDENT LEGAL COUNSEL AND ACKNOWLEDGE THEY HAVE
COMPLETELY READ AND UNDERSTAND AND AGREE TO THE TERMS AND CONDITIONS OF THIS NOTE AND
THE ACCOMPANYING ARBITRATION AGREEMENT (IF APPLICABLE), AND FURTHER ACKNOWLEDGE
RECEIPT OF AN EXACT COPY OF THIS NOTE AND THE ARBITRATION AGREEMENT.

DATED: « es (4, AOL
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BORROWER(S): EQUITYBUILD, INC.

(SEAL)

 

STATE OF_Elovichoa. ,COUNTYOF (Wanokee - 5

On this | day of st ; , 20 io, before me, a notary public, personally appeared
x rvu Caner) ) to

me known (or proved to me on the basis of satisfactory ebidence) to be the person(s) who executed the foregoing
instrument and acknowledged the same for the purpose therein contained and in my presence signed and sealed the
same. - i

My Comm. expres alt = ly, adil

NOTARY PUBLIC

 

 

JESSICA ANN BAIER

i . MY COMMISSION #FFOI9714
; EXPIRES July 26, 2017
FloridaNotaryService.com

 

 

 

 

Exhibit A

iL: Commercial Flat Rate Promissory Note 9 Borrower's Initials: A
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Lender Name Principal Amount Percentage of Loan

Danyel Tiefenbacher & Jamie Lai $50,000 2.27%
The Entrust Group Inc. FBO Jill Halverson IRA $50,000 2.27%
MayREI LLC $86,515 3.93%
iPlanGroup Agent for Custodian FBO Christopher Pong IRA $29,280 1.33%
iPlanGroup Agent for Custodian FBO Julia Pong IRA $34,572 1.57%
Kevin Randall $50,000 2.27%
Alton P. Motes & Vicki Elaine Washburn JTWROS $80,000 3.64%
Paul N. Wilmesmeier $25,000 1.14%
iPlanGroup Agent for Custodian FBO James B. Ploeger IRA $6,300 0.29%
Flying Hound Holdings, LLC $18,553 0.84%
Pat Desantis $110,000 5.00%
Adir Hazan $50,000 2.27%
Optima Property Solutions LLC $60,000 2.73%
Quest IRA Inc. FBO Francis Webb IRA $22,035 1.00%
Kester Brothers Farm, LLC 550,000 2.27%
James Hoven $50,000 2.27%
2nd City Solo 401K Trust $20,000 0.91%
Joshua Morrow $50,000 2.27%
D & D Investment Circle LLC $30,000 1.36%
iPlan Group Agent for Custodian FBO Yvette Camacho IRA $30,000 1.36%
te Trust Company Custodian FBO Robert W. Jennings $74,539 3.399%
iPlanGroup Agent for Custodian FBO Jyotsna Sharma IRA $25,000 1.14%
Erika Dietz $50,000 2.27%
iPlanGroup Agent for Custodian FBO Mark Young IRA $100,000 4.55%
1839 Fund I, LLC $50,000 2.27%

 

 

 

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Borrower's Initials: x /

 
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Lender Name Principal Amount Percentage of Loan

Joseph M. Martinez & Linda M. Martinez $50,000 2.27%
Ira J. Fields Living Trust, Glynis Sheppard, Trustee. $50,000 2.27%
Terry L. Merrill & Sheryl R. Merrill $50,000 2.27%
Equity Trust Company Custodian FBO Paula Levand IRA $45,000 2.05%
TruStar Real Estate Solutions, LLC $75,000 3.41%
Quest IRA, Inc. FBO Francisco A. Romero Sr. Acct.# $56,000 2.55%
iPlan Group Agent for Custodian FBO Jacqueline C. Rowe IRA $50,000 2.27%
G & M You-nique Properties LLC $60,000 2.73%
Walter T. & Margaret M. Akita $50,000 2.27%
Scott E, Pammer $70,000 3.18%
Equity Trust Company Custodian FBO Stanley J. Kessock IRA $50,000 2.27%
iPlan Group Agent for Custodian FBO Filomena Mora IRA $38,400 1.75%
KKW Investments $1,600 0.07%
PNW Investments, LLC $10,000 0.45%
New Move Ventures Inc. $50,000 2.27%
fiaciaon For Custodian FBO Maria Christina $42,000 1.91%
Vantage FBO Sidney Haggins IRA $30,000 1.36%
Grathia Corporation $100,000 4.55%
Vladimir Matviishin, dba Network Expert $28,075 1.28%
Susan Tingle $50,000 2.27%
Samuel Home Solutions, LLC $42,131 1.92%

 

 

 

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The Easterly 120 feet of Lot 114 in Division One of Westfall's Subdivision of 208 acres,
being the East 1/2 of the Southwest 1/4 and the Southeast fractional 1/4 of Section 30,
Township 38 North, Range 15, East of the Third Principal Meridian, in Cook County,
Illinois
